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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                   Case No. 8:15-cr-507-T-33MAP

  JOSEPH LUGO
  _______________________________/

                                  ORDER

        This cause is before the Court pursuant to Defendant

  Joseph Lugo’s Unopposed Motion for Competency Examination

  (Doc. # 28), filed on January 11, 2017.         The Court grants the

  Motion as explained below.

  Discussion

        Lugo has been charged, along with a co-defendant, in an

  indictment with one count of conspiracy, in violation of 18

  U.S.C. § 371, and nine counts of theft of government property,

  in violation of 18 U.S.C. §§ 641 and 2. (Doc. # 1).          Lugo has

  entered a plea of not guilty and has waived speedy trial

  through March 31, 2017.       (Doc. # 16). The matter is set for

  the February 2017, trial term. (Doc. # 18).

        Lugo requests an Order for a competency examination to

  determine (a) whether Lugo is currently suffering from a

  mental    disease     or   defect    (testing     for   organic     or

  neurocognitive disorder and intellectual disability), and (b)

  whether that disease or defect has rendered him incompetent to
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  the extent that he is not capable of understanding the nature

  and   consequences    of   the   proceeding    against    him   and/or

  assisting in his own defense.           Lugo also requests that the

  examination include “testing for intellectual disability to

  gauge this issue relative to the rest of Mr. Lugo’s symptoms.”

  (Doc. # 28 at 2).     The Court grants the Motion pursuant to 18

  U.S.C. § 4241(a),(b) and 4247(b),(c).         The Court appoints Dr.

  Valerie McClain to conduct the examination.

        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED

  (1)   Defendant Joseph Lugo’s Unopposed Motion for Competency

        Examination (Doc. # 28) is GRANTED.

  (2)   The Court appoints Dr. Valerie McClain to perform a

        competency examination of Lugo to determine (a) whether

        Lugo is currently suffering from a mental disease or

        defect (testing for organic or neurocognitive disorder

        and   intellectual    disability),     and   (b)   whether   that

        disease or defect has rendered him incompetent to the

        extent that he is not capable of understanding the nature

        and consequences of the proceeding against him and/or

        assisting in his own defense.

        DONE and ORDERED in Chambers in Tampa, Florida, this 12th

  day of January, 2017.

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